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Exhibit G
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DECLARATION UNDER PENALTY OF PERJURY
PURSUANT TO 28 U.S.C. § 1746

1. My name is David Hopkins. I am over eighteen years of age and competent
to testify to the matters contained herein.

2. [am a resident of Richmond County in Georgia and my residence address is
4603 Dunson Dr. Hephzibah, GA 30815.

3. My wife, Sharon, and I both work in manufacturing. I’ve been in
manufacturing for nearly SO years and Sharon for 30 years. Unfortunately,
Sharon’s job permanently closed down and left her without work. It is
difficult for a 60 year old to get a job, even though it shouldn’t be that way.
That’s why it’s so important for us to be able to vote in 2020.

4. The last time I voted was in 2008 for Barack Obama. My wife and I both
wanted a change and wanted someone who could bring jobs to our
community. I often work 12, 14, or 16 hour days so I haven’t followed the
political situation closely. But now we’ve started to lose jobs again. People
are losing their jobs and tariffs are tearing up our country. It’s important for
us to get someone new in the presidency so that everyone can get a job.

5. On December, 14", a Fair Fight Action staffer checked the list of voters to be
removed from the voter rolls by the Secretary of State and my name was on

the list to be purged. My wife and I have not moved from our home. I have
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not received a notice from the Secretary of State concerning the purge or my
voter registration. I do not want to be purged.

I want to be able to voice my opinion. Why would you take someone’s right
away from them if they are not asking you to? It always has a trickle down
effect. If this is what they take away this time, what’s next? Everyone should
be able to have a say about what needs to be done and how to do it. I don’t
care who you are voting for, that’s still your right. We may not agree, but
still, it’s your right.

I give this Declaration freely, without coercion, and without any expectation
of compensation or other reward.

I understand that in giving this Declaration, that I am not represented by a
lawyer. Nor has any lawyer asked me to be their client or to serve in anyway
as anything other than a witness in this litigation.

I declare under penalty of perjury that the foregoing is true and correct.

Further affiant sayeth not, this the 15 day of December, 2019.

Signature
David Hopkins
